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                                 #:10594



                                             & HEDGES, LLP




    Attorneys for Mattel, Inc.
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                                  EASTERN DIVISION
    CARTER BRYANT, an individual,       CASE NO. CV 04-9049 SGL (WX)
                                        Consolidated with
                     Plaintiff,         Case No. CV 04-09059
          VS.                           Case No. CV 05-2727
                                        DISCOVERY MATTER
    MATTEL, INC., a Delaware
                                         To be Heard by Discovery Master Hon.
    corporation,
                                        0Order
                                          dward Infante (Ret.) Pursuant to Court
                                               of December 6,20061
                     Defendant.
                                        [PUBLIC REDACTED]

    AND CONSOLIDATED ACTIONS            DECLARATION OF BRIDGET HAULER
                                        IN SUPPORT OF MATTEL, INC.'S
                                        OPPOSITION TO JOINT MOTION TO
                                        COMPEL THE DEPOSITION
                                        TESTIMONY OF ROBERT ECKERT
                                        Date: January 4, 2008
                                        Time: TBD
                                        Discovery Cut-Off:    Jan. 28,2008
                                        Pre-Trial Conference: May 5, 2008
                                        Trial Date:           May 27,2008

                                   CONFIDENTIAL
           FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER




                                                 HAULER DECLARATION IS0 OPPOSITION
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                                 #:10595




                        DECLARATION OF BIUDGET AAULER
                  I, Bridget Hauler, declare as follows:
                  1. I am a member of the bar of the State of California. I am an
     associate at Quinn Emanuel Urquhart Oliver & Hedges, LLP,attorneys for Mattel,
     Inc. ("Mattel"). I make this declaration in support of Mattel's Opposition to
     Defendants' Joint Motion to Compel the Deposition Testimony of Robert Eckert. I
     make this declaration of personal, firsthand knowledge, and if called and sworn as a
     witness, I could and would testify competently thereto.
                 2.     To date, Matte1has produced in excess of 258,000 pages of
     documents responsive to defendants' requests.
                 3.     A review of Matters production to date shows that
     approximately 94 documents mention Mr. Eckert's name. Of those, over one-half
     are magazine and newspaper articles.
                  4.    Attached as Exhibit 1 i s a true and correct copy of Andria
     Cheng's The Age article, "World Barbie Means Business," published on April 21,
     2004 and bates-stamped M 0079004-005.
                  5.    Attached as Exhibit 2 is a true and correct wpy of Greg Levine's
     Forbes.com article, "Faces in the News: Eckert's Mattel Touts Barbie as Multimedia
     Star," published on June 20,2006 and bates-stamped M 0055002-003.
                  6.    Attached as Exhibit 3 is a true and correct copy of Queena Sook
     Kim's & Suzanne Vranica's Wall Street Journal article, "'Tween Queen Comes to
     Fashion Doll's Aid," published on August 23,2004 and bates-stamped M 0249325-
     326.
                  7.    Attached as Exhibit 4 is a true. and correct copy of Alex Veiga's
     Associated Press article, "Rehabbed Barbie Aims to Win," published on November
     29,2004 and bates-stamped M 0079067-068.



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                                         HAULERDECLARATIONIS0 OPPOSlTION TO JOINT MOT10
Case 2:04-cv-09049-DOC-RNB Document 1298-2 Filed 12/19/07 Page 3 of 3 Page ID
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                  8.    Attached as Exhibit 5 is a true and correct copy an email from
      Lobert Eckert to various Matte1 employees, dated February 16,2004 and bates-
      tamped M 0109795-796.
                  9.    Attached as Exhibit 6 is a true and correct copy of a letter from
      Lobert Eckert to Ron Brawer, dated March 28,2003 and bates-stamped M 0254770.
                  10.   Attached as Exhibit 7 is a true and correct copy of a November
      :9,2007 letter h m Jon Corey, a patner at my firm, to Thomas Nolan, counsel to
      LGA Entertainment, Inc.
                  11.   Attached as Exhibit 8 is a true and correct copy of this Court's
      iugust 27,2007 Order denying defendants' Motion for Terminating Sanctions.


                  I declare under penalty of perjury under the laws of the United States of
      herica that the foregoing is true and correct.
                  Executed on December 18,2007, at Los Angeles, California.




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                                         HAULER DECLARATION IS0 OPPOS1710N TO I O N MOT101
